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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DEBRA CONWAY,                                     § No. 4:14-cv-1333
                                                  §
  Plaintiff,                                      §
                                                  §
  v.                                              §
                                                  §
GC SERVICES, LP,                                  §
                                                  §
  Defendant.                                      §
                                                  §

                                          COMPLAINT

       DEBRA CONWAY (Plaintiff), through her attorneys, KROHN & MOSS, LTD., alleges the

following against GC SERVICES, LP (Defendant):

                                       INTRODUCTION

    1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

       seq. (FDCPA).

    2. Defendant acted through its agents, employees, officers, members, directors, heirs,

       successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                JURISDICTION AND VENUE

    3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

    4. Defendant conducts business in the state of Texas, and therefore, personal jurisdiction is

       established.

    5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

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                                         PARTIES

 6. Plaintiff is a natural person residing in Reno, Washo County, Nevada.

 7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

    Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

 8. Defendant is an alleged debt collector as that term is defined by 15 U.S.C. 1692a(6), and

    sought to collect a consumer debt from Plaintiff.

 9. Defendant is a national debt collection company with its main office located in Houston,

    Texas and it conducts business in Texas.

                              FACTUAL ALLEGATIONS

10. In or around February of 2014, Defendant placed collection phone calls to Plaintiff seeking

    and demanding payment for an alleged debt.

11. Plaintiff's alleged debt arises from transactions for personal, family, and household purposes.

12. Defendant called Plaintiff's telephone number at 775-829-72XX.

13. At or around 1:46pm on February 7, 2014, Defendant's representative, “Shawntee", placed

    and recorded a collection phone call to Plaintiff.

14. Defendant’s caller id showed phone number 775-473-6348, a phone number that belongs to

    Defendant.

15. Plaintiff answered Defendant's phone call, and informed Defendant's representative,

    "Shawntee", that Plaintiff had retained attorney “Nick Wajda” to represent Plaintiff in this

    matter.

16. After Plaintiff's conversation with Defendant's representative, "Shawntee", Plaintiff received

    additional phone calls from Defendant on: February 13, 2014 at 10:16am, 3:17pm, and

    1:32pm.
                                PLAINTIFF’S COMPLAINT                                            2
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                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   18. Defendant violated the FDCPA based on the following:

      a.      Defendant violated §1692c(a)(2) of the FDCPA by communicating with Plaintiff

              despite knowing that Plaintiff was represented by an attorney.

      WHEREFORE, Plaintiff, DEBRA CONWAY, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP, for the following:

   19. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k;

   20. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. 1692k;

   21. Any other relief that this Honorable Court deems appropriate.

                                                    RESPECTFULLY SUBMITTED,

      Dated: May 14,2014                     By: /s/Ryan S. Lee
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                                 PLAINTIFF’S COMPLAINT                                            3
